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AO 91 ( Rev I 1/11 ) Criminal Complaint


                                       UNITED STATES DISTRICT COURT                                      FILED
                                                                   for the
                                                        Northern District of Texas
                                                                                                September 4, 2020
                                                                                              KAREN MITCHELL
                  United States of America                            )                   CLERK, U.S. DISTRICT COURT
                                 v.                                   )
                                                                      )       Case No.
                        MARTIN AVINA                                                     3:20-MJ-941-BT
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                            Defe11da111(s)


                                                    CRIMINAL COMPLAINT
          J, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                July 20 to September 3, 2020,      in the county of              Dallas        in the
     Northern           District of       --------
                                             Texas , the defendant(s) violated:

             Code Section                                                       Offense Description
18 u.s.c. § 371 &                                  Conspiracy to Receive or Possess Unregistered Firearms
26 u.s.c. § 5861 (d)




          This criminal complaint is based on these facts:
See attached affidavit of ATF Special Agent Gus Benavides.




          � Continued on the attached sheet.




                                                                                      GUS BENAVIDES, ATF Special Agent
                                                                                                Printed name and title

Agent sworn and signature confinned before me via reliable electronic means pursuant to Fed. R. Crim. P. 4.1.


Date:        September 4, 2020
                                                                                                  Judge 's signature

City and state:            Dallas, Texas                                       REBECCA RUTHERFORD, U.S. Magistrate Judge
                                                                                                Printed name and title
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                       NO.

v.

MARTIN AVINA

                    AFFIDAVIT IN SUPPORT OF COMPLAINT
                   AND APPLICATION FOR ARREST WARRANT
       I, Gus Benavides, being duly sworn, hereby state the following is true and correct

to the best of my knowledge and belief:

                                   INTRODUCTION

       1.      I am a Senior Special Agent with the Bureau of Alcohol, Tobacco, Firearms

and Explosives (ATF). I have been a Special Agent with the ATF since June 2001. I

also served in the United States Army, as an Airborne Ranger for four (4) years and in the

United States Army Reserves, as a Military Police Officer, for approximately four (4)

years. I am a “federal law enforcement officer” within the meaning of Federal Rule of

Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the

criminal laws and duly authorized by the Attorney General to request a search warrant. I

am a graduate of the Criminal Investigator Training Program and of the ATF Academy at

the Federal Law Enforcement Training Center. I have been responsible for numerous

investigations involving firearms offenses, which resulted in the seizures of firearms,

firearm parts, firearm paraphernalia, and ammunition.



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         2.      The facts in this affidavit come from my own personal observations and

information provided to me by other law enforcement personnel and witnesses. I have

not included each and every fact known to me concerning this investigation. This

affidavit is intended to show only that there is sufficient probable cause for the arrest of

MARTIN AVINA for Conspiracy to Receive or Possess Unregistered Firearms in

violation of 18 U.S.C. § 371 and 26 U.S.C. § 5861(d).

                                     PROBABLE CAUSE

         3.     On July 12, 2020, I received information from ATF Task Force Officer

(TFO) E. Barnes regarding the advertisement of Glock conversion switches (or “Glock

switches”) on Snapchat, a messaging application. A Glock switch is a device designed

and intended for use in converting a semiautomatic Glock pistol into a machinegun. It is

therefore a “machinegun” as defined by 26 U.S.C. § 5845(b), and may only be possessed

by properly licensed Federal Firearms Licensees who have paid the appropriate Special

Occupational Tax (SOT) required of those dealing in National Firearms Act (NFA)

firearms.1



1
    A “machinegun” is defined as follows:

         [A]ny weapon which shoots, is designed to shoot, or can be readily restored to
         shoot, automatically more than one shot, without manual reloading, by a single
         function of the trigger. The term shall also include the frame or receiver of any
         such weapon, any part designed and intended solely and exclusively, or
         combination of parts designed and intended, for use in converting a weapon into
         a machinegun, and any combination of parts from which a machinegun can be
         assembled if such parts are in the possession or under the control of a person.


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         4.      The information I received from TFO Barnes indicated that Glock switches

were being advertised for sale on Snapchat under the username “jose31b.” Snapchat user

“jose31b” posted a photograph of several Glock switches with the caption “Who needs

them switches?? Hmu.”2

         5.      On July 13, 2020, I forwarded the photograph to ATF Equipment

Specialist/Armorer Eugene Carter, Firearms and Ammunition Technology Division

(FATD), who advised that the depicted Glock switches appeared to be made in Russia,

but that a physical inspection of the switches would be necessary to verify their origin.

         6.      On July 13, 2020, I created an undercover Snapchat account in an effort to

contact Snapchat user “jose31b” to discuss and negotiate the sale/purchase of Glock

switch(es). While working in an undercover capacity, I made contact with JOSÉ

GUADALUPE BERMUDEZ (“JOSÉ BERMUDEZ”) on his Snapchat account under the

username “jose31b,” the same account provided by ATF TFO E. Barnes.3

         7.      In the course of my initial conversation with JOSÉ BERMUDEZ on

Snapchat, BERMUDEZ advised that the price was $900.00 per Glock switch. I provided

JOSÉ BERMUDEZ with an undercover telephone number in an attempt to further




26 U.S.C. § 5845(b) (emphasis added); see also 26 U.S.C. § 5845(a) (defining “firearm” to
include “machinegun”).
2
    “Hmu” is an abbreviation for “hit me up.”
3
  Snapchat user “jose31b” had the name “Jose Bermudez” associated with said account. An ATF
Investigative Analyst conducted queries of databases and was able to positively identify
“jose31b” as JOSÉ BERMUDEZ by cross-referencing his social media photos with a Texas
driver’s license photo.

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discuss the Glock switches via telephone call. Shortly thereafter, JOSÉ BERMUDEZ

blocked me from sending him messages through the Snapchat app.

                           FIRST UNDERCOVER PURCHASE

       8.      On July 15, 2020, I enlisted the assistance of ATF SA L. Velasquez,

El Paso Field Office, to make contact with JOSÉ BERMUDEZ via an existing

undercover Snapchat account. From July 15, 2020 to July 20, 2020, SA Velasquez,

working in an undercover capacity, communicated with JOSÉ BERMUDEZ via

Snapchat. The purpose of the communication was to discuss, negotiate, and arrange the

sale/purchase of five (5) Glock switches in Dallas, Texas.

       9.      On or about July 15, 2020, JOSÉ BERMUDEZ posted a photograph on his

Snapchat account depicting what appeared to be two (2) Glock pistols, each equipped

with a Glock switch affixed to it and an additional eight (8) Glock switches. One of the

Glock pistols had a high-capacity extended magazine attached to it.4 The other Glock

pistol had a high-capacity drum magazine attached to it. The photograph was captioned,

“Who needs them switches.”

       10.     On or about July 16, 2020, JOSÉ BERMUDEZ informed SA Velasquez

that he was in the Oak Cliff area of Dallas, Texas. JOSÉ BERMUDEZ also informed SA

Velasquez that the price was $900.00 per switch and that he had as many Glock switches

as SA Velasquez needed. JOSÉ BERMUDEZ offered to ship the Glock switches to SA



4
  High capacity magazines, such as the ones depicted in the photograph, are typically used with
fully automatic machineguns due to the nature of the machinegun rapid-fire function.

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Velasquez or sell them to someone in the Dallas area for her. SA Velasquez informed

JOSÉ BERMUDEZ that she had a “cousin” in Tyler, Texas, who would meet with him

and conduct the purchase of the Glock switches for SA Velasquez. SA Velasquez

ordered four (4) switches for a total of $3,600.00. JOSÉ BERMUDEZ responded that he

would sell her five (5) switches for $4,000.00.

       11.     On or about July 18, 2020, JOSÉ BERMUDEZ agreed to meet on July 20,

2020, to finalize the purchase of five (5) Glock switches for $4,000.00. JOSÉ

BERMUDEZ told SA Velasquez that he would meet at “1104 S Westmoreland Rd,

Dallas, TX 75211.” On July 20, 2020, SA Velasquez informed JOSÉ BERMUDEZ that

her “cousin” would be at the meeting location at 4:00 p.m. with the purchase money.

JOSÉ BERMUDEZ responded, “That’s fine I’m free all day.” On same date, at

approximately 4:15 p.m., SA Velasquez provided JOSÉ BERMUDEZ with Affiant’s

undercover telephone number, so that he could communicate with Affiant to finalize the

Glock switch transaction.

       12.     On July 20, 2020, at approximately 4:33 p.m., Affiant, while working in an

undercover capacity, coordinated with JOSÉ BERMUDEZ to meet in a parking lot area

located at 1104 S. Westmoreland Road, Dallas, Texas, to conduct the purchase of five (5)

Glock switches for $4,000.00. Shortly thereafter, BERMUDEZ’s brother, VICTOR

ALFREDO BERMUDEZ (“VICTOR BERMUDEZ”), arrived in a maroon Ford F-150

bearing Texas license plate #GZK1197. VICTOR BERMUDEZ parked next to Affiant’s

undercover vehicle (UCV) and entered the UCV. VICTOR BERMUDEZ sat in the front

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passenger seat. Immediately after entering the UCV, VICTOR BERMUDEZ handed

Affiant a small plastic baggie containing five (5) Glock switches. VICTOR

BERMUDEZ explained the characteristics and functionality of the Glock switches to

Affiant.

         13.     VICTOR BERMUDEZ advised Affiant that the switches were unassembled

(3 pieces) for everyone’s protection. According to VICTOR BERMUDEZ, if he were

pulled over by law enforcement he would not get charged criminally because the

switches were unassembled. VICTOR BERMUDEZ told Affiant to research the

assembly of the Glock switches on YouTube to make them operational. VICTOR

BERMUDEZ further explained to Affiant that the switches fired/functioned in both

semiautomatic mode and “rafaga,” or fully automatic machine gun, mode.5 VICTOR

BERMUDEZ reiterated that they sell the Glock switches unassembled for everyone’s

safety. According to VICTOR BERMUDEZ, law enforcement personnel cannot charge

people criminally if the Glock switches are unassembled.

         14.     Affiant exchanged $4,000.00 of United States government funds for the

baggie containing the five (5) Glock switches to finalize the purchase. VICTOR

BERMUDEZ pulled out his cell phone and retrieved a video of himself holding a Glock

pistol and firing several rounds of ammunition in semiautomatic mode. In the video, the

shooter flips the switch affixed to the Glock pistol and fires the same pistol in fully




5
    “Rafaga” is a common street term used to describe a machine gun.

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automatic machine gun mode. VICTOR BERMUDEZ indicated those were the same

switches he was selling Affiant.

       15.       Affiant told VICTOR BERMUDEZ that if the switches functioned as

designed, he would purchase more from him, but needed a lower price. VICTOR

BERMUDEZ told Affiant that he needed to discuss pricing with his brother, who was

previously identified as JOSÉ BERMUDEZ. Affiant asked VICTOR BERMUDEZ who

his cousin (SA Velasquez) had been discussing and negotiating the sale of the switches

with. VICTOR BERMUDEZ responded, “con José” (or “with José”). VICTOR

BERMUDEZ told Affiant that “José” was busy so he delivered the switches for “José.”

After counting the purchase money, VICTOR BERMUDEZ exited the UCV. As he

departed the UCV, VICTOR BERMUDEZ again instructed Affiant to search “Glock

switch” on YouTube for instructions on how to install and affix the switches to the pistols

to make them operational.

       16.       Shortly after the transaction was finalized, JOSÉ BERMUDEZ sent

SA Velasquez a message stating, “Thank you! We’re here any time you need some.”

       17.       After the transaction, surveillance units followed VICTOR BERMUDEZ to

a residence located at 1211 S. Westmoreland Road, Dallas, Texas 75211. VICTOR

BERMUDEZ was observed parking in front of the residence and subsequently entering

the residence.




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                   QUERY OF FIREARM REGISTRATION RECORDS

       18.     On July 19, 2020, Affiant requested a National Firearm Registration and

Transfer Record search from ATF’s National Firearms Act (NFA) Branch. Affiant

specifically requested the below listed person/firearm be queried:

          BERMUDEZ, JOSÉ GUADALUPE, date of birth: 08/31/1991, Social Security
          Number 645-30-XXXX, and any firearms registered to him.

On July 21, 2020, Affiant received the ATF NFA Branch results, which indicated that

JOSÉ BERMUDEZ did not have any NFA firearms registered to him nor were any

firearms subject to the NFA registered under his name. A Texas Crime Information

Center (TCIC) query for a License To Carry (LTC) a handgun was also conducted, and

the results indicated that JOSÉ BERMUDEZ possesses a Texas LTC (license

number 07217303).

       19.     On July 21, 2020, Affiant requested a National Firearm Registration and

Transfer Record search from ATF’s National Firearms Act (NFA) Branch. Affiant

specifically requested the below listed person/firearm be queried:

          BERMUDEZ, VICTOR ALFREDO, date of birth: 11/08/1989, Social Security
          Number 639-30-XXXX, and any firearms registered to him.

On July 22, 2020, Affiant received the ATF NFA Branch results, which indicated that

VICTOR BERMUDEZ did not have any NFA firearms registered to him nor were any

firearms subject to the NFA registered under his name.




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                        SECOND UNDERCOVER PURCHASE

       20.     From July 25, 2020 to July 30, 2020, SA Velasquez, again while working

in an undercover capacity, communicated with JOSÉ BERMUDEZ via Snapchat. The

purpose of this communication was to discuss, negotiate and arrange the sale/purchase of

two (2) Glock switches, one (1) Glock pistol equipped with a fully automatic Glock

switch, and one (1) AK-47 type firearm in Dallas, Texas.

       21.     On or about July 26, 2020, JOSÉ BERMUDEZ posted a photograph on his

Snapchat account that depicted a tan Glock pistol equipped with a fully automatic Glock

switch with the caption, “Not cheap but if you interested come with full auto switch.”




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SA Velasquez asked JOSÉ BERMUDEZ the price of said pistol, and he responded,

“2100” ($2,100.00).

       22.     SA Velasquez negotiated with JOSÉ BERMUDEZ to purchase two (2)

Glock switches, an AK-47 type firearm, and the Glock pistol equipped with a fully

automatic Glock switch on July 30, 2020.

       23.     On July 30, 2020, SA Velasquez made contact with JOSÉ BERMUDEZ via

Snapchat and confirmed that the transaction would take place at 4:00 p.m. at the same

location as the transaction on July 20, 2020. JOSÉ BERMUDEZ informed SA Velasquez

that her “cousin” could meet him at the same location as the previous transaction.

       24.     On same date, at approximately 4:00 p.m., JOSÉ BERMUDEZ was

observed by surveillance units departing the residence located at 1211 S. Westmoreland

Road, Dallas, Texas 75211, and drive to the meeting location at 1104 S. Westmoreland

Road, Dallas, Texas 75211.

       25.     On July 30, 2020, at approximately 4:01 p.m., Affiant, again working in an

undercover capacity, met with JOSÉ BERMUDEZ at the parking lot located at 1104 S.

Westmoreland Road, Dallas, Texas. The purpose of this meeting was to conduct the

purchase/transaction of two (2) Glock switches, one (1) Glock pistol equipped with a

Glock fully automatic switch and one (1) AK-47 type firearm.

       26.     JOSÉ BERMUDEZ was the driver and sole occupant of his vehicle. As

Affiant pulled into the parking lot, he parked the UCV to the left of JOSÉ BERMUDEZ’s

vehicle. JOSÉ BERMUDEZ exited his vehicle, entered the UCV, and sat in the front

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passenger seat. JOSÉ BERMUDEZ carried a black gym bag from his vehicle and into

the UCV. After exchanging pleasantries, JOSÉ BERMUDEZ retrieved a hard plastic

Glock box that contained one (1) Glock pistol, equipped with a Glock switch, two (2)

additional switches, and ammunition magazines for the pistol. JOSÉ BERMUDEZ

opened the Glock box and showed Affiant the Glock pistol equipped with a switch and

the two (2) additional switches.

       27.     JOSÉ BERMUDEZ confirmed that his brother, previously identified as

VICTOR BERMUDEZ, was the person who met with and sold the previous five (5)

Glock switches to Affiant on July 20, 2020. According to JOSÉ BERMUDEZ, he

receives approximately fifty (50) Glock switches at a time and has been able to sell them

all.

       28.     JOSÉ BERMUDEZ told Affiant that the price per item was: $800.00 per

Glock switch (x 2); $2,100.00 for the Glock pistol equipped with a switch; and $1,500.00

for the AK-47 type firearm. Affiant attempted to negotiate a lower price for all the items,

but JOSÉ BERMUDEZ was not willing to agree to a lower price. JOSÉ BERMUDEZ

cited the COVID-19 pandemic as a reason for the prices being high.

       29.     JOSÉ BERMUDEZ then pulled out the AK-47 type firearm from the gym

bag and showed it to Affiant. JOSÉ BERMUDEZ stated that the AK-47 firearm was new

and had never been fired. Affiant told JOSÉ BERMUDEZ that he could buy more

switches and firearms in the future as long as the price(s) were lower.




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       30.     JOSÉ BERMUDEZ then showed Affiant a video from his phone that

depicted a Glock pistol being fired in semiautomatic mode, then in fully automatic mode

with the use of a switch. This was the same video that VICTOR BERMUDEZ showed

Affiant on July 20, 2020.

       31.     JOSÉ BERMUDEZ then described in detail the characteristics and

functionality of the Glock switches. JOSÉ BERMUDEZ explained how the Glock

switches functioned and advised that the switches can be used in fully automatic

(machinegun) mode or semiautomatic mode. JOSÉ BERMUDEZ then disassembled the

Glock pistol and provided Affiant instruction on how to properly affix the switch to any

Glock pistol to make it function properly and fire as a fully automatic machinegun.

       32.     JOSÉ BERMUDEZ also told Affiant that at times he receives “loads de

Glocks” (or “loads of Glocks”) that are brand new and available for sale. JOSÉ

BERMUDEZ told Affiant that he’s received twenty (20) Glock pistols at a time, and sells

them for about $600.00 each.

       33.     Affiant exchanged $5,200.00 of official United States government funds for

the two (2) Glock switches; one (1) Glock pistol equipped with a switch; and one (1) AK-

47 type firearm. The Glock pistol and AK-47 type firearm are further identified as a

Glock pistol (machine gun), model 19X, 9mm, bearing serial number BPNM863, with a

Glock switch attached; and a Zastava pistol, model PAP M92PV, 7.62x39mm cal.,

bearing serial number M92PV046013. Photographs of the firearms purchased in the

second undercover transaction are below:

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       34.     After the transaction, surveillance units followed JOSÉ BERMUDEZ to the

residence located at 1211 S. Westmoreland Road, Dallas, Texas 75211. JOSÉ

BERMUDEZ was observed parking on the rear parking lot area of the residence.

Surveillance was terminated shortly thereafter. VICTOR BERMUDEZ traveled to this

same residence after completing the transaction with Affiant on July 20, 2020.

                              TECHNICAL EXAMINATION

       35.     On August 3, 2020, Affiant shipped exhibits #001-005, 006, 009-010 to

ATF’s Firearms Technology Criminal Branch (FTCB)-Firearms and Ammunition

Technology Division (FATD) to be examined, tested and classified. Exhibits 001

through 005 were purchased from VICTOR BERMUDEZ on July 20, 2020. Exhibits

006, 009, and 010 were purchased from JOSÉ BERMUDEZ on July 30, 2020.

       36.     On August 12, 2020, Affiant received a Report of Technical Examination

from FTCB, regarding seven (7) Glock switches and one (1) Glock pistol equipped with a

Glock switch. All Glock switches (conversion devices) were classified as “firearms” and

“machineguns” and defined as “any weapon which shoots, is designed to shoot, or can be

readily restored to shoot, automatically more than one shot, without manual reloading, by

a single function of the trigger.”

                          THIRD UNDERCOVER PURCHASE

       37.     From August 7, 2020 to August 18, 2020, SA Velasquez, again working in

an undercover capacity, communicated with JOSÉ BERMUDEZ via Snapchat. The




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purpose of this communication was to discuss, negotiate and arrange the sale/purchase of

two (2) Glock switches and narcotics in Dallas, Texas.

       38.     During that timeframe, JOSÉ BERMUDEZ posted a video on his Snapchat

account depicting JOSÉ BERMUDEZ and VICTOR BERMUDEZ driving in a pickup

truck while displaying firearms during the daytime hours. As the video continues, it

depicts JOSÉ BERMUDEZ arriving at the residence located at 1211 S. Westmoreland

Road, Dallas, Texas 75211 during the nighttime.

       39.     Also during that timeframe, SA Velasquez asked JOSÉ BERMUDEZ how

many firearms he “flipped” in a week. JOSÉ BERMUDEZ responded, “Just depends

how many come in I’ve had crates of 30 come in and flipped them in 2 days and there’s

times I only get my hands on 2 in a whole week.” Also during that timeframe, JOSÉ

BERMUDEZ posted photographs/videos of cocaine and marijuana, which he was

advertising for sale on his Snapchat account. Additionally, on August 18, 2020, JOSÉ

BERMUDEZ posted a photograph depicting five (5) Glock switches, with the caption

“Who needs them Glock switches.”




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       40.     On August 17, 2020, Affiant, while working in an undercover capacity,

communicated with JOSÉ BERMUDEZ and arranged the sale/purchase of two (2) Glock

switches. The transaction was set for the following day, August 18, 2020, at 6:30 p.m.,

on the same parking lot as the prior transactions, located at 1104 S. Westmoreland Road,

Dallas, Texas 75211.

       41.     On August 18, 2020, at approximately 6:33 p.m., Affiant received a

telephone call from JOSÉ BERMUDEZ, who informed Affiant that he was on his way to

the meeting location. A few minutes later, Affiant pulled onto the parking lot and parked

his UCV to wait for JOSÉ BERMUDEZ. At approximately the same time, surveillance

units who were monitoring the residence located at 1211 S. Westmoreland Road, Dallas,


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Texas 75211 observed several males exit the rear of the residence and get into the black

Ford F-150 truck, bearing Texas license plate #KXB9013, and into a champagne Ford F-

250 truck, bearing Texas license plate #NJT5759. Both vehicles traveled in tandem to

the parking lot where Affiant was waiting for JOSÉ BERMUDEZ.

       42.     The Ford F-250 parked next to Affiant’s UCV and VICTOR BERMUDEZ

exited the front passenger seat and entered Affiant’s UCV. Affiant told VICTOR

BERMUDEZ that he had a customer who wanted to purchase between five (5) and ten

(10) switches in the future if the price was lowered. VICTOR BERMUDEZ told Affiant

that he needed to discuss prices with JOSÉ BERMUDEZ since Affiant was JOSÉ

BERMUDEZ’s customer and already negotiating with him. Affiant exchanged

$1,800.00 ($900.00 per switch) of official United States government funds for two (2)

Glock switches. VICTOR BERMUDEZ told Affiant that the larger the quantity he

purchases, the lower the price. VICTOR BERMUDEZ told Affiant that they had more

switches available for sale. Affiant placed a telephone call to JOSÉ BERMUDEZ to re-

negotiate the price in front of VICTOR BERMUDEZ, but the call went unanswered.

VICTOR BERMUDEZ then exited the UCV and entered the Ford F-250 to place a

telephone call in an attempt to lower the price for Affiant. Shortly thereafter, VICTOR

BERMUDEZ approached the UCV’s driver side window and told Affiant that they would

lower the price to $700.00 per switch if Affiant purchased twenty (20) switches at the

same time. VICTOR BERMUDEZ then entered the Ford F-250 and departed the area.




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Photographs of the Glock switches purchased in the third undercover transaction are

below:




         43.   After the transaction, surveillance units followed both trucks to the

residence located at 1211 S. Westmoreland Road, Dallas, Texas 75211. VICTOR

BERMUDEZ and an unknown male were observed exiting the Ford F-250 and entering

the residence. The Ford F-250 departed the residence shortly thereafter.




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                         FOURTH UNDERCOVER PURCHASE
                        AND SEARCH WARRANT EXECUTION

       44.     On September 2, 2020, Affiant and JOSÉ BERMUDEZ discussed and

negotiated the sale of ten (10) Glock switches for a price of $7,000.00 ($700.00 each) to

be finalized the following day, September 3, 2020.

       45.     On September 3, 2020, at approximately 5:53 p.m., Affiant sent JOSÉ

BERMUDEZ a text message informing him that Affiant was at the meeting location

(1104 S. Westmoreland Road, Dallas, Texas). A short time later, JOSÉ BERMUDEZ

called Affiant and informed him that his brother-in-law would be delivering the switches

to Affiant.

       46.     Surveillance units monitoring the residence located at 1211 S.

Westmoreland observed a Hispanic male, previously identified as MARTIN AVINA,

exit the residence and enter a white Nissan Rogue sport utility vehicle (SUV) bearing

Texas license plate number CVX 8114. AVINA departed the residence and drove

directly to the parking lot at 1104 S. Westmoreland Road, Dallas, Texas, and parked next

to Affiant’s undercover vehicle (UCV). AVINA was the driver and sole occupant of the

Nissan Rogue vehicle. AVINA exited his vehicle and entered Affiant’s UCV. Upon

entering the UCV, AVINA produced nine (9) Glock switches and handed them to Affiant

for inspection. AVINA told Affiant, “I only have fucking nine of them though. I have

ten of them but I can’t find the other one, I lost it.”




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       47.     Affiant then asked AVINA for the total price of the nine switches. AVINA

pulled out his cell phone, calculated the price, and answered, “63” ($6,300.00). Affiant

then handed AVINA $4,000.00 of United States government funds, and told AVINA the

rest of the money was in Affiant’s backpack in the backseat. Affiant asked AVINA if he

had fired the Glock switches before, to which he responded, “yea”, while nodding in the

affirmative. AVINA then stated, “I have shot them. We shot them on the 4th of July…”

       48.     Affiant then departed the front seat area of the UCV to get the additional

funds and gain separation from AVINA. Affiant then gave the verbal arrest signal to

effect AVINA’s arrest. ATF Agents and Task Force Officers arrested AVINA without

incident. Nine (9) Glock switches were seized during AVINA’s arrest.

       49.     Moments later, ATF Agents and Dallas Police Department Officers

executed a federal search warrant at the residence located at 1211 S. Westmoreland Road,

Dallas, Texas. JOSÉ BERMUDEZ, ANGIE AVINA, and an 18-year old male were

detained as they exited the residence through the front door while the entry team was

forcibly entering through the rear door of the residence. One (1) additional Glock switch

was located on the front yard lawn near where JOSÉ BERMUDEZ was arrested. JOSÉ

BERMUDEZ and MARTIN AVINA were read their Miranda warnings and both

requested attorneys before answering any questions.

       50.     ANGIE AVINA was read her Miranda warning and she agreed to talk to

Affiant. ANGIE AVINA stated that MARTIN AVINA is her brother and is the renter

and sole occupant of the residence at 1211 S. Westmoreland Road, Dallas, Texas.

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ANGIE AVINA stated that JOSÉ BERMUDEZ is her ex-boyfriend. ANGIE AVINA

stated that she was aware that JOSE BERMUDEZ, VICTOR BERMUDEZ and

MARTIN AVINA have been selling firearms for a long period of time.

       51.     The nine (9) Glock switches seized during AVINA’S arrest and the one (1)

Glock switch recovered in the front yard look identical and are packaged in the same

manner as the previously purchased Glock switches.

                                     CONCLUSION

       52.     Based on the foregoing, there is probable cause to believe that, between on

or about July 20, 2020, and on or about September 3, 2020, MARTIN AVINA

committed the offense of Conspiracy to Receive or Possess Unregistered Firearms in

violation of 18 U.S.C. § 371 and 26 U.S.C. § 5861(d).




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                                 Respectfully submitted,




                                 Gus Ben vides
                                 Senior S ecial Agent
                                 Bureau of Alcohol, Tobacco, Firearms and Explosives



Agent sworn and signature confirmed via reliable electronic means on September 4,
2020, pursuant to Fed. R. Crim. P. 4.1.




                                 REBECCA RUTHERFORD
                                 UNITED STATES MAGISTRATE JUDGE




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